Case 2:04-cr-20454-BBD Document 33 Filed 04/25/05 Page 1 of 2 Page|D 36

 

|N THE UN|TED STATES DISTR|CT COURT
FOR THE WESTERN D|STRICT OF TENNESSEE 135 ,_-.,;-`j _1§-"
WESTERN DlVlS|ON

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ff.:l."i';\'-§i<,__ 1 11 ._J 1;!
uNiTED sTATEs oF AMERicA "`“"“”' G" “"' "f"“"“'* P` ‘S

P|aintiff

VS.
CR. NO. 04-20454-D

PATRICK W|LLIAMS

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAV
AND SETT|NG

 

This cause came on for a report date on April 19, 2005. At that time, counsel forthe
defendant requested a continuance of the |Vlay 2, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to August ‘I, 2005 with a
report date of Thursdav. Ju|v 21. 2005. at 9:00 a.m., in Courtroom 3. ch F|oor of the
Federa| Building, Nlemphis, TN.

The period from May 13, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 31 61 (h)(B)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy tria|.

iT is so oRDERED this 025 day or Aprii, 2005.

Qri,m&éi

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`Fhis litocuirzar.t entered on the docket “.
with Ru|e 55 andlor 32(£3) FiiCrP on _

     
 

  

UNITED sATE DSTIIC COURT - WESTERN DISTRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 33 in
case 2:04-CR-20454 Was distributed by faX, mail, or direct printing on
April 29, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

